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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

                        CASE NO. 6:18-CV-01851-PGB-EJK

  BRUCE WRIGHT, JORGE
  VALDES, EDWIN DIAZ, individually
  and on behalf of all others similarly
  situated,
                                          CLASS ACTION
         Plaintiffs,

  v.

  EXP REALTY, LLC,

         Defendant.

        CLASS COUNSEL’S MOTION FOR CLASS COUNSEL FEES AND
       EXPENSES AND INCORPORATED MEMORANDUM IN SUPPORT
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 I. INTRODUCTION
        Representative Plaintiff Edwin Diaz and Defendant eXp Realty, LLC reached

 a class action settlement agreement (“Settlement Agreement” or “Agreement”)1
 resulting in $26,910,000 of monetary relief to the Class.
        eXp has also agreed to change its business practices that resulted in this

 litigation. Specifically, eXp has agreed to remove from its internal cloud-based
 platform for affiliated realtors training and instructional materials relating to cold
 call telemarketing, and to provide additional materials to its realtors concerning the

 requirements of the TCPA and other telemarketing laws and how to comply with
 them. To enact these changes in business practices, eXp has established an agent
 compliance committee that is responsible for generating the compliance materials

 and taking corrective action as to realtors who fail to comply with eXp’s policies
 and federal and state laws restricting telemarketing. This meaningful remedial relief
 itself is valued at $17,081,672 to the Class and society over the next five years. See

 Economic Assessment of Remedial Relief in Class Action Settlement Agreement,
 prepared by Jon Haghayeghi, Ph.D., attached as Ex. 1 (“Haghayeghi Report”).
        The total economic value of the relief provided by the Settlement is therefore

 $43,991,672. This is an extraordinary result in a hard-fought case (1) involving a
 novel theory of realty brokerage vicarious liability developed by Class Counsel that


 1
   Following the hearing on the motion for preliminary approval of the class action settlement, the
 parties submitted an amended settlement agreement, which is the operative Settlement Agreement
 and can be found at ECF 211-1. All capitalized terms used herein have the same definitions as
 those defined in the Agreement.
                                                 1
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 has been rejected by multiple courts across the country, and (2) which spanned
 multiple years – nearly reaching trial – despite repeated, consumer-unfriendly

 changes to TCPA and consumer class action law during its pendency.
        For these, and the other reasons set forth in this memorandum and in the
 papers submitted in support of approval of the Settlement, pursuant to Federal Rule

 of Civil Procedure 23(h), Class Counsel respectfully request that the Court enter an
 order approving Class Counsel’s requested attorneys’ fees of $8,970,000, equal to
 one-third of the Settlement’s monetary relief and 20% of its total economic value,

 and out-of-pocket expenses of $106,262.05. The requested amount is in line with
 amounts approved in similar TCPA class settlements in this Circuit and across the
 country. The amount also reflects the risk and exceptional results corresponding to

 this case, and was specifically included in the notices to the Class. 2
        Accordingly, Class Counsel respectfully request that the Court approve the
 requested fees and expenses at or after the fairness hearing.3

 II. BACKGROUND
        a. The Case Was Hard-Fought and Heavily Litigated
        This case involved more than two years of active litigation involving

 extensive motion practice, discovery, expert work, trial preparation, and settlement
 efforts. Declaration of Avi Kaufman, attached as Ex. 2; Declaration of Stefan

 2
   The Court-approved notice documents advise class members that Class Counsel intend to request
 fees in an amount not to exceed one-third of the Settlement Sum and reimbursement of out-of-
 pocket expenses incurred in the litigation. See ECF 211-1 at Exhibits B and C.
 3
   A proposed order that includes Class Counsel fees and expenses will be submitted with the
 Motion for Final Approval.
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 Coleman, attached as Ex. 3; Declaration of Jonas Jacobson, attached as Ex. 4.
       On October 30, 2018, Plaintiff Bruce Wright filed the complaint against

 Defendant in this action asserting a claim under the TCPA’s automatic telephone
 dialing system (“ATDS”) provision (ECF 1). On January 24, 2019, Plaintiffs
 Wright, Jorge Valdes and Edwin Diaz filed the amended complaint which added

 claims under the TCPA’s prerecorded voice calls and National Do Not Call registry
 provisions (ECF 30). On February 21, 2019, Defendant answered the amended
 complaint (ECF 40).

       Since that time, the case has involved extensive motion practice and trial
 preparation.
       On May 17, 2019, Defendant filed a motion to stay the case pending FCC

 guidance on what constitutes an ATDS under the TCPA (ECF 45) and a motion to
 strike Plaintiffs’ class allegations (ECF 46), a revised version of which was filed on
 May 20, 2019 (ECF 48). On May 31, 2019, Plaintiffs filed their response to the

 motion to stay (ECF 49), and, on June 3, 2019, Plaintiffs filed their response to the
 motion to strike (ECF 50). On June 7, 2019, the Court denied Defendant’s motion
 to stay the case (ECF 51). On June 13, 2019, the Court denied Defendant’s motion

 to strike the class allegations (ECF 55).
       On September 25, 2019, Defendant filed a motion for summary judgment
 (ECF 59). On November 1, 2019, the parties filed a stipulation of agreed material

 facts (ECF 73), and Plaintiffs responded in opposition to the motion for summary
 judgment (ECF 74).
                                             3
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         On October 25, 2019, Plaintiff Diaz moved for class certification (ECF 68).
 On November 22, 2019, Defendant filed its response to Plaintiff’s motion (ECF 87),

 and on December 13, 2019, Plaintiff filed his reply in support of class certification
 (ECF 91).
         In the midst of trial preparations, on January 22, 2020, Defendant filed a

 motion to stay pending the Supreme Court’s decision in Barr v. AAPC regarding the
 constitutionality of the TCPA (ECF 94). On February 3, 2020, the parties filed their
 joint pretrial statement (ECF 96). On February 5, 2020, Plaintiffs responded in

 opposition to the motion to stay (ECF 97). On February 7, 2020, the Court granted
 the stay pending the Barr decision, and after Barr was decided, following additional
 briefing, on August 12, 2020, the Court continued the stay pending the Supreme

 Court’s decision in Facebook Inc. v. Duguid regarding what constitutes an ATDS
 (ECF 108).
         On April 15, 2021, after the Supreme Court’s Facebook ruling, the stay was

 lifted and an amended case management schedule was entered (ECF 118 & 119).
 On May 13, 2021, Plaintiff Diaz filed a renewed motion for class certification (ECF
 125), and Defendant filed a renewed motion for summary judgement (ECF 123).

 The renewed motions were fully briefed as of June 23, 2021 (ECF 127, 131, 137, &
 138).
         Thereafter, the parties again turned their focus to trial preparation. On August

 18, 2021, Plaintiffs moved to strike Defendant’s amended initial disclosures (ECF
 160), and on September 1, 2021, Defendant filed its response to the motion to strike
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 (ECF 169). On August 24, 2021, the parties filed a renewed joint pretrial statement
 (ECF 161). On August 31, 2021, the parties filed motions in limine (ECF 165 &

 166). The motions in limine were both fully briefed as of September 14, 2021 (ECF
 172 & 173). The parties also filed their objections to each other’s deposition
 designations and counter designations (ECF 170 &171).

       On September 29, 2021, the Court granted class certification and directed the
 parties to submit proposed notices (Sealed ECF 174). On October 12, 2021, in
 conjunction with preparing notices and a notice plan, Plaintiffs filed a motion to

 overrule Defendant’s objection to the production of certain call records (ECF 176).
 While the motion was denied, the parties and third parties relevant to the objection
 further met and conferred regarding the call records necessary to implement notice.

 On October 15, 2021, the parties submitted joint class notice forms (ECF 178) and
 Plaintiffs filed a motion to approve the notice plan (ECF 179).
       Also on October 15, 2021, Defendant filed a motion to stay or reopen

 discovery (ECF 181) and a motion to enforce the scheduling order or for protective
 order (ECF 183). On October 19, 2021, third party Mojo filed a motion for
 clarification (ECF 189) and Plaintiffs responded to Defendant’s motion to enforce

 the scheduling order or for protective order (ECF 190). On October 21, 2021, the
 Court denied Defendant’s motion to stay or reopen discovery, denied the motion to
 enforce the scheduling order, granted the motion for protective order, and provided

 clarity to Mojo (ECF 191, 192, & 193).
       On October 26, 2021, Defendant filed a partial motion to dismiss based on
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 personal jurisdiction as to non-Florida Class Members (ECF 194). On November 17,
 2021, Plaintiffs responded to the motion (ECF 198).

       Motion practice in this case extended to the Eleventh Circuit of Appeals. On
 October 13, 2021, Defendant petitioned the Eleventh Circuit for permission to
 appeal this Court’s class certification order. eXp Realty, LLC v. Wright, No. 21-

 90027-G, ECF 1 (11th Cir. 2021). On October 25, 2021, Plaintiff submitted his
 opposition to Defendant’s petition. See id.
       Like motion practice in this case, discovery was fulsome, involving multiple

 waves of written discovery between the parties, multiple waves of third party
 subpoenas, expert discovery relating to multiple expert reports relating to multiple
 different disciplines, and five depositions. Plaintiffs subpoenaed Plaintiff Diaz’s

 telephone carrier, six eXp realtors, and six vendors associated with lead generation
 and dialing systems. The written discovery and subpoenas resulted in the production
 of tens of thousands of pages of electronic documents relating to Defendant’s

 realtors’ calling practices. Kaufman Decl. ¶ 15.
       And just as the parties invested in motion practice, discovery, and trial
 preparation, they also expended significant effort trying to resolve the case.

       On November 22, 2019, the Parties attended a full day mediation with Hon.
 James F. Holderman (Ret.) at JAMS in Chicago.
       On November 15, 2021, the Parties engaged in a second full-day, in person

 mediation, this time with Hunter Hughes in Atlanta. Id. at ¶ 18. The Parties engaged
 in further negotiations over the course of the following days with Mr. Hughes’
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 assistance, reaching an agreement as to the outline of a class wide resolution (see
 ECF 199). Id. The parties then engaged in months of additional, adversarial

 negotiations culminating in the Settlement Agreement. Id.
       And since the Court preliminarily approved the Settlement, Class Counsel
 have continued to invest significant time and economic resources towards the

 administration of the Settlement, including efforts to increase Class member claims
 at their own expense for which they are not seeking reimbursement (ECF 214).
       b. The Case Involved Significant Risk Due to Plaintiffs’ Novel Theory of
          Realty Brokerage Vicarious Liability and the Ever-Changing TCPA
          and Consumer Law Landscape
       In addition to the constant risk posed by eXp’s many dispositive motions and
 other filings, this case involved significant risk due to (1) Plaintiffs’ novel liability
 theory and (2) changes in TCPA and consumer class action law that materialized

 during its pendency.
       At the time this case was filed, no court had certified a class on a similar theory
 of realty brokerage vicarious liability or found the theory otherwise viable in any

 legal context. Indeed, Class Counsel are at the forefront of this novel theory of
 vicarious liability and are not aware of a single such case being filed in any court
 before Class Counsel began pursuing it. See, e.g., Wright v. Keller Williams Realty,

 Inc., No. 2:18-cv-635 (W.D. Wash.) (complaint filed May 2, 2018); Wright v. La
 Rosa Realty, LLC, No. 6:18-cv-734 (M.D. Fla.) (complaint filed May 11, 2018);
 Gonzalez v. Related ISG Realty, LLC, No. 1:18cv23238 (S.D. Fla.) (complaint filed

 August 9, 2018); Valdes v. Century 21 Real Estate, LLC, No. 2:19-05411 (D.N.J.)
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 (complaint filed February 11, 2019); St John v. Keller Williams Realty, No. 6:19-cv-
 1347-Orl-40DCI (M.D. Fla.) (complaint filed July 22, 2019); Declements v. My

 Home Group Real Estate LLC, No. 2:20-cv-362 (D. Ariz.) (complaint filed February
 19, 2020).
       Since then, district courts across the country have repeatedly disagreed about

 the viability of Class Counsel’s vicarious liability theory. Compare Valdes v.
 Century 21 Real Estate, LLC, No. 2:19-05411, 2019 U.S. Dist. LEXIS 182616
 (D.N.J. Oct. 21, 2019) (denying brokerage’s motion to dismiss); Hayhurst v. Keller

 Williams Realty, Inc., No. 1:19CV657, 2020 U.S. Dist. LEXIS 128877 (M.D.N.C.
 July 22, 2020) (same); St John & Luis Penuela v. Keller Williams Realty, No. 6:19-
 cv-1347-Orl-40DCI, 2020 U.S. Dist. LEXIS 257506 (M.D. Fla. Feb. 4, 2020)

 (same); Bumpus v. Realogy Brokerage Grp. LLC, No. 3:19-cv-03309-JD, 2022 U.S.
 Dist. LEXIS 52650 (N.D. Cal. Mar. 23, 2022) (granting class certification); with
 Rahimian v. Adriano, No. 2:20-cv-02189-GMN-VCF, 2022 U.S. Dist. LEXIS 46437

 (D. Nev. Mar. 16, 2022) (granting brokerage’s motion to dismiss); Dave v. Century
 21 Real Estate, LLC, No. CA: 4:20-cv-00840-JD, 2021 U.S. Dist. LEXIS 225282
 (D.S.C. Sep. 15, 2021) (same); Valdes v. Nationwide Real Estate Execs., No. SA CV

 20-01734-DOC-(JDEx), 2021 U.S. Dist. LEXIS 100931 (C.D. Cal. Apr. 22, 2021)
 (same); Macdonald v. Keller Williams Realty, Inc., No. CV-20-00138-PHX-SMB
 (D. Ariz. Jan. 28, 2021) (same); DeClements v. RE/MAX LLC, No. 1:20-cv-02075-

 DDD-SKC, 2020 U.S. Dist. LEXIS 253299 (D. Colo. Oct. 13, 2020) (same);
 Declements v. Americana Holdings LLC, No. CV-20-00166-PHX-DLR, 2020 U.S.
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  Dist. LEXIS 130213 (D. Ariz. July 23, 2020) (granting brokerage owner/operator’s
  motion to dismiss).

        In fact, just a few months before class certification was initially briefed in this
  case, a district court issued a first of its kind decision rejecting the same vicarious
  liability theory and denying class certification against a national brokerage in a case

  that was filed the same month as this one. Chinitz v. NRT W., Inc., No. 18-cv-6100,
  2019 U.S. Dist. LEXIS 148699 (N.D. Cal. Aug. 30, 2019).
        There was therefore at the time of filing significant risk involved in diligently

  pursuing a case based on an unproven theory of liability that has since been
  repeatedly rejected.
        Relatedly, at the time of filing, there was considerable risk that the ever-

  changing TCPA and consumer law landscape could ultimately undermine the
  Plaintiffs’ claims in part or in whole – just as it in fact did during the case.
        Just a few months before this case started, in March 2018, the D.C. Circuit

  held that the FCC’s long-standing, consumer-friendly interpretation of what
  constituted an automatic telephone dialing system under the TCPA was no longer
  valid. See, e.g., ECF 45. Consistent with that, after Plaintiffs had engaged an expert

  relating to whether the dialers eXp’s realtors used constituted automatic telephone
  dialing systems and briefed class certification (including as to a claim under the
  automatic telephone dialing provision, which was the Plaintiffs’ most

  straightforward claim with the largest potential class), the Eleventh Circuit
  interpreted the term in the most limited possible manner, see, e.g., ECF 95, and that
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  interpretation was upheld by the Supreme Court in Facebook requiring Plaintiffs to
  abandon their automatic telephone dialing system claim and proposed class.

        Similarly, during this case, the Supreme Court and Eleventh Circuit have
  issued opinions relating to class action standing and TCPA standing, respectively,
  heightening the requirements for demonstrating standing in class actions generally

  and TCPA cases specifically. TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021)
  (requiring each class member to have standing); Grigorian v. FCA US Ltd. Liab.
  Co., 838 F. App'x 390 (11th Cir. 2020) (in a non-binding opinion, see 11th Cir. R.

  36-2, holding that the receipt of a ringless voicemail does not confer standing);
  Salcedo v. Hanna, 936 F.3d 1162 (11th Cir. 2019) (holding that the receipt of a text
  message does not confer standing); see also Barnes v. Allsup Emp't Servs., LLC, No.

  21-cv-21121, 2022 U.S. Dist. LEXIS 117003 (S.D. Fla. July 1, 2022) (denying class
  certification in a prerecorded voice calls case based on standing); Audish v. Nat'l
  Health Connect LLC, No. 21-cv-61457, 2022 U.S. Dist. LEXIS 114107 (S.D. Fla.

  June 28, 2022) (finding that the receipt of a single prerecorded call resulting in a
  voicemail does not confer standing).
        And these unfavorable changes to the law relating to the determination of what

  constitutes an automatic telephone dialing system and standing were not even the
  most severe threats to the viability of Plaintiffs’ claims posed by a potential change
  in the law during the pendency of this case. Instead, a potential ruling by the Supreme

  Court in Barr that the TCPA was unconstitutional and irreparable was because it
  would have defeated all of Plaintiffs’ claims after class certification and summary
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  judgment had been briefed and trial preparation had commenced in earnest (the first
  time). Compare Hussain v. Sullivan Buick-Cadillac-GMC Truck, Inc., 506 F. Supp.

  3d 1242 (M.D. Fla. 2020) (Moody, J.) (dismissing TCPA claims for lack of subject
  matter jurisdiction and finding that the TCPA was unconstitutional and
  unenforceable for calls made between November 2015 and July 2020) with Boisvert

  v. Carnival Corp., No. 8:20-cv-2076-30SPF, 2021 U.S. Dist. LEXIS 47397, at *7
  (M.D. Fla. Mar. 12, 2021) (Moody, J.) (denying substantively identical motion and
  finding, “In sum, ‘[b]ecause the Supreme Court has invalidated and severed the

  government-debt exception from the remainder of § 227(b)(1)(A)(iii), the exception
  did not affect the remainder of the statute and the statute remains enforceable, at
  least against non-government debt collectors, as to calls made between November

  2015, and July 6, 2020.’”).
       Class Counsel therefore faced considerable risk at the time they began
  litigating this case and throughout it.
        c. The Settlement Provides Meaningful Monetary
           and Remedial Relief to the Class and Society
        The Settlement provides monetary relief of $90 per claim net of any award
  of attorneys’ fees and expenses. If the Court grants Class Counsel’s requested fees

  and expenses, each claimant will receive approximately $60. This amount exceeds
  the per claim payouts in the vast majority of TCPA class action settlements,
  including in cases involving allegations of vicarious liability and/or involving direct

  liability against large companies like eXp. See, e.g., In re Monitronics Int'l, No. 1:13-

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  MD-2493, ECF 1214 (N.D.W. Va. June 12, 2018) (in a vicarious liability case with a
  certified adversarial class, like here, granting final approval to $28 million TCPA

  settlement estimated to result in a payout of $38 per claim); In re Capital One TCPA
  Litig., 80 F. Supp. 3d 781, 789 (N.D. Ill. 2015) (in a direct liability case, granting
  final approval with a $39.66 payout per claim); Rose v. Bank of Am. Corp., 2014

  WL 4273358 at *10 (N.D. Cal. Aug. 29, 2014) (direct liability; $20-$40 per
  claimant); Kolinek v. Walgreen Co., 311 F.R.D. 483, 493–94 (N.D. Ill. 2015) (direct
  liability; $30 per claimant); Steinfeld v. Discover Fin. Servs., No. C 12-01118, 2014

  WL 1309352, at *6 (N.D. Cal. Mar. 10, 2014) (direct liability; $46.98 per claimant);
  Markos v. Wells Fargo Bank, N.A., 2017 WL 416425, at *4 (N.D. Ga. Jan. 30, 2017)
  (direct liability; $24 per claimant; deemed an “excellent result”); Goldschmidt v.

  Rack Room Shoes, No. 18-21220-CIV, ECF 86 (S.D. Fla. Jan. 16, 2020) (direct
  liability; $10 voucher and $5 in cash, less attorneys’ fees, costs, notice and
  administration costs, and service award, per claimant); Halperin v. You Fit Health

  Clubs, LLC, No. 18-61722, ECF 44 (S.D. Fla. Nov. 1, 2019) (direct liability; $9,
  less attorneys’ fees, costs, administration costs, and service award, per claimant);
  Cabiness v. Educ. Fin. Sols., LLC, 2019 U.S. Dist. LEXIS 50817, at *12 (N.D. Cal.

  Mar. 26, 2019) (direct liability; $33.36 per claimant). See also Hamilton v. SunTrust
  Mortg. Inc., No. 13-cv-60749, 2014 U.S. Dist. LEXIS 154762, at *20 (S.D. Fla. Oct.
  24, 2014) (in claims-made settlements, the total value of the benefits made available by

  the settlement, and not the structure or claims rate, dictate the determination of
  “fairness, reasonableness, or adequacy” of the settlement and class counsel’s requested
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  attorneys’ fees).
         The Settlement also provides valuable remedial relief consisting of changes

  to eXp’s business practices that resulted in this litigation. Specifically, eXp has
  agreed to remove from its internal cloud-based platform for affiliated realtors
  training and instructional materials relating to cold call telemarketing, and to provide

  additional materials to its realtors concerning the requirements of the TCPA and
  other telemarketing laws and how to comply with them. To enact these changes in
  business practices, eXp has established an agent compliance committee that is

  responsible for generating the compliance materials and taking corrective action as
  to realtors who fail to comply with eXp’s policies and federal and state laws
  restricting telemarketing. Kaufman Decl. ¶ 39.

         To assign a dollar value to the remedial relief provided to the Class, an
  economist, Dr. Haghayeghi, was engaged to perform an economic assessment. As
  part of that assessment, Dr. Haghayegi determined the anticipated effect of eXp’s

  business practice changes on realtor telemarketing conduct and the corresponding
  consumer willingness to pay for such changes, concluding that over the next five
  years the remedial relief has a mean present discounted value of $17,081,672.

  Haghayeghi Report at 10-11. Similar consumer willingness to pay analyses have
  been accepted by courts for valuing remedial relief in TCPA class settlements. See
  Beiswinger v. West Shore Home LLC, Case No. 3:20-cv-01286-HES-PDB, ECF 36

  (M.D. Fla. May 26, 2022) (Schlesinger, J.) (granting final approval to a TCPA class
  settlement aided by Dr. Haghayeghi’s valuation of the remedial relief); De Los
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  Santos v. Milward Brown, Inc., Case No. 9:13-cv-80670, ECF 82-3 and 84 (S.D.
  Fla., Sep. 11, 2015) (granting final approval to a TCPA class settlement aided by Dr.

  Haghayeghi’s late colleague Dr. J. Herbert Burkman’s valuation of the remedial
  relief).
         The total economic value of the Settlement’s relief is therefore $43,991,672

  to the Class and society. Ultimately, the Settlement confers substantial and
  immediate benefits upon the Class and others whereas continued and protracted
  litigation may have ultimately delivered none given the risks presented by the

  challenges of establishing Plaintiffs’ novel vicarious liability theory, the ever
  changing TCPA and consumer class action law landscape, and the uncertainties of
  contested litigation, including at trial and on appeal. See Kaufman Decl. ¶ 40.
  III.   ARGUMENT
         a. Class Counsel’s Requested Fees and Expenses are Fair,
            Reasonable, and Justified, and Should be Approved
         Pursuant to the Agreement, as indicated in the notices to the Class, and consistent
  with Eleventh Circuit law, Class Counsel respectfully request an award of attorneys’

  fees of $8,970,000, which is 20% of the Settlement’s total economic value and one-third
  of its monetary component. See, e.g., Holmes v. Wca Mgmt. Co., L.P., No. 6:20-cv-698-
  PGB-LRH, 2022 U.S. Dist. LEXIS 52756, at *5 (M.D. Fla. Jan. 12, 2022) (awarding

  fees in a lightly litigated case involving a similar claims-made structure as here:
  “Pursuant to Fed. R. Civ. P. 23(h), and consistent with the Eleventh Circuit's decision in
  Camden I Condo. Ass'n, Inc. v. Dunkle, 946 F.2d 768, 774 (11th Cir. 1991) (‘Henceforth


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  in this circuit, attorneys' fees awarded from a common fund shall be based upon a
  reasonable percentage of the fund established for the benefit of the class.’), the Court

  hereby awards Class Counsel Attorneys' Fees and Expenses in the amount of one-third
  … of the gross Settlement Fund, payable pursuant to the terms of the Settlement
  Agreement, plus … litigation costs.”). Class Counsel also respectfully request that they

  be reimbursed for their reasonable out of pocket expenses of $106,262.05. See id. The
  Settlement is not contingent on the award of any Class Counsel fees or expenses.
  Kaufman Decl. ¶ 20.

        The Court has discretion in determining the appropriate fee percentage. “There is
  no hard and fast rule mandating a certain percentage of a common fund which may be
  awarded as a fee because the amount of any fee must be determined upon the facts of

  each case.” Camden I, 946 F.2d at 774. The Eleventh Circuit has provided a set of factors
  the Court should use to determine a reasonable percentage to award as attorneys’ fees to
  class counsel in class actions:
         (1) the time and labor required;
        (2)    the novelty and difficulty of the relevant questions;
        (3)    the skill required to properly carry out the legal services;
        (4) the preclusion of other employment by the attorney as a result of
        her acceptance of the case;
        (5)    the customary fee;
        (6)    whether the fee is fixed or contingent;
        (7)    time limitations imposed by the clients or the circumstances;
        (8)    the results obtained, including the amount recovered for the Clients;
        (9)    the experience, reputation, and ability of the attorneys;
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        (10) the “undesirability” of the case;
        (11) the nature and the length of the professional relationship with the
        clients; and
        (12) fee awards in similar cases.
  Camden I, 946 F.2d at 772 n.3 (citing Johnson v. Georgia Highway Express, Inc.,

  488 F.2d 714, 717-19 (5th Cir. 1974)). “Other pertinent factors are the time required
  to reach a settlement, whether there are any substantial objections by class members
  or other parties to the settlement terms or the fees requested by counsel, any non-

  monetary benefits conferred upon the class by the settlement, and the economics
  involved in prosecuting a class action.” Camden I, 946 F.2d at 775.
        As applied, these Camden I factors support the requested fee here.
               1. The Case Required Substantial Time and Labor and as
                  a Result Precluded Other Employment By Class Counsel
        Plaintiffs’ and the Class’s claims demanded considerable time and labor,
  precluding other employment by Class Counsel, and making the requested fee fair,

  reasonable, and justified. Kaufman Decl. ¶¶ 2-19, 41-56; Coleman Decl. ¶¶ 7-18;
  Jacobson Decl. ¶¶ 8-14. As detailed above and in counsel’s declarations, this case
  went the distance and required thousands of hours of attorney time. It was fiercely

  litigated for more than two years and settled only after extensive motion practice,
  discovery, a petition to appeal, and other proceedings, including disclosure of
  multiple experts and two rounds of trial preparation.

        The first and fourth Camden I factors therefore “militate in favor of a high-
  end fee.” See Baez v. LTD Fin. Servs., L.P., No. 6:15-cv-1043-Orl-40TBS, 2019


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  U.S. Dist. LEXIS 86949, at *6-7 (M.D. Fla. May 23, 2019) (“This class action
  involved a novel legal theory and was fiercely litigated by the parties. These factors

  militate in favor of a high-end fee. The preclusion of other employment also weighs
  in Plaintiff's favor because significant time was required to litigate this matter ….”).
               2. The Issues in this Case Were Novel and Difficult, Making the
                  Case Undesirable, Presenting Significant Risk, and Requiring
                  the Skill of Talented and Experienced Attorneys
        In any given case, class counsel’s skill should be commensurate with the
  novelty and complexity of the issues, as well as opposing counsel’s skill. Litigation

  of this case required counsel trained in class action law and procedure as well as the
  specialized issues presented here. Class Counsel are particularly experienced in the
  litigation, certification, and settlement of nationwide class action cases, and their

  participation added value to the representation of this Class. Kaufman Decl. ¶¶ 31-
  36; Coleman Decl. ¶¶ 3-4. To date, not including this Settlement, Class Counsel have
  recovered over $100 million through class action settlements for the benefit of

  consumers, including more than $35 million in TCPA cases. Kaufman Decl. ¶ 32.
        Moreover, Plaintiffs’ theory of realty brokerage vicarious liability was novel
  and difficult, making the case undesirable and risky, and requiring the skill of highly

  talented attorneys. See, e.g., In re Sunbeam Sec. Litig., 176 F. Supp. 2d 1323, 1336
  (S.D. Fla. 2001) (“A court's consideration of this factor recognizes that counsel
  should be rewarded for taking on a case from which other law firms shrunk. Such

  aversion could be due to any number of things, including … thorny factual
  circumstances, or the possible financial outcome of a case. All of this and more is
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  enveloped by the term ‘undesirable.’”).
        As detailed above and in counsel’s declarations, Class Counsel were at the

  forefront of pursuing this theory and, over the course of four years doing so, courts
  have continued to be divided regarding the theory’s viability. In fact, in the first
  ruling on class certification in any such case, just a few months before class

  certification was first briefed here (brought by other counsel with whom Class
  Counsel in this case have since worked to successfully obtain class certification in a
  successor case, see Bumpus, 2022 U.S. Dist. LEXIS 52650, another district court

  found that Plaintiffs’ theory of realty brokerage vicarious liability could not be
  demonstrated on a class wide basis. Chinitz, 2019 U.S. Dist. LEXIS 148699.
  Notwithstanding, Class Counsel succeeded in obtaining class certification.

        Similarly, Class Counsel successfully navigated this case through changes in
  TCPA and consumer class action law that resulted in dispositive orders and denial
  of class certification in substantively similar TCPA class actions.

        Finally, in evaluating the quality of representation by Class Counsel, the Court
  should also consider opposing counsel. See Camden I, 946 F.2d at 772 n.3; Ressler
  v. Jacobson, 149 F.R.D. 651, 654 (M.D. Fla. 1992). For the vast majority of the

  litigation, eXp was represented by extremely capable counsel from top law firm
  Squire Patton Boggs, including lead counsel Eric Troutman who is nationally
  renowned as a TCPA defense attorney, see, e.g., www.TCPAworld.com. They are

  worthy, highly competent adversaries. Kaufman Decl. ¶ 31.
        The second, third, ninth, and tenth Camden I factors – including risk of
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  obtaining no recovery after years of litigation – therefore “weigh in favor of a high-
  range fee award.” See Baez, 2019 U.S. Dist. LEXIS 86949, at *6-7 (“This class

  action involved a novel legal theory and was fiercely litigated by the parties. These
  factors militate in favor of a high-end fee. … Moreover, the amount involved, results
  obtained, and the experience, reputation, and ability of the attorneys weigh in favor

  of a high-range fee award.”); see also Sos v. State Farm Mut. Auto. Ins. Co., No.
  6:17-cv-890-PGB-LRH, 2021 U.S. Dist. LEXIS 52898, at *18 (M.D. Fla. Mar. 19,
  2021) (awarding the highest available contingency fee multiplier under Florida state

  law: “The Court finds that Plaintiff's success was unlikely at the outset of this
  litigation. Plaintiff's theory … had never been tested in the courts, and the relevant
  statute appeared to favor insurers. … Moreover, advancing this theory—particularly

  through a class action—would require an enormous outlay of capital, would take
  several years, and would be a complex and hard-fought battle against a well-
  resourced opponent with a reputation for aggressive defense.”).

               3. Class Counsel Achieved a Successful Result
        In determining whether a fee award is reasonable, courts must evaluate the
  results achieved, i.e., the benefit to the class and society from the litigation. Farrar

  v. Hobby, 506 U.S. 103, 114 (1992). This factor addresses monetary relief as well as
  the value of any remedial relief. See Hall v. Cole, 412 U.S. 1, 5 n.7 (1973) (the right
  to fees “must logically extend, not only to litigation that confers a monetary benefit

  on others, but also litigation ‘which corrects or prevents an abuse which would be
  prejudicial to the rights and interests’ of those others”); Cook v. Gov't Emples. Ins.
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  Co., No. 6:17-cv-891-ORL-40KRS, 2020 U.S. Dist. LEXIS 111956, at *32 (M.D.
  Fla. June 22, 2020) (“This Court notes that the monetary value of all claims under

  the terms of the Settlement Agreement for Transfer Fees and prejudgment interest is
  approximately $61.90 million, which includes approximately $27.54 million in cash
  available for claimants, $28.76 million in prospective relief from GEICO's change

  in practice over a five-year period, and $5.6 million in attorneys' fees ….”).
        Given the significant litigation risks the Class faced and would continue to
  face, the Settlement represents a successful result. Rather than facing further costly

  and uncertain pre-trial litigation (including a likely motion to decertify the class),
  trial, and appeals, the Settlement makes available an immediate cash benefit of
  nearly $27 million to the Class and provides meaningful remedial relief that will

  prevent future unsolicited telemarketing calls, with a mean total present, discounted
  economic value of $17,081,672. Kaufman Decl. ¶ 38; Haghayegi Report at 10-11.
  In addition to these economic benefits, Class Counsel also secured other “favorable

  terms” as part of the Settlement, including “robust notice, a simple and streamlined
  claims’ process, and narrowly tailored release” that support the conclusion that the
  requested fees are warranted. See Cook, 2020 U.S. Dist. LEXIS 111956, at *32-33.

        And this conclusion is not changed by the claims-made structure of the
  settlement or the claims rate. The Eleventh Circuit and district courts in this Circuit
  have determined that the adequacy of a settlement’s relief and class counsel’s

  corresponding entitlement to fees should be evaluated based on the value of the
  benefits made available by the settlement, and not the amount actually claimed. See
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  Waters v. Int’l Precious Metals Corp., 190 F.3d 1291, 1295–96 (11th Cir. 1999)
  (affirming fee award of one-third of total amount made available to class, and

  determining that attorney’s fees may be determined based on the total benefits
  available, even where the actual payments to the class following a claims process
  are lower); Holmes, 2022 U.S. Dist. LEXIS 52756, at *5 (awarding one-third of the

  reversionary common fund in attorneys’ fees without regard for the claims rate);
  Saccoccio v. JP Morgan Chase Bank, NA, 297 F.R.D. 683, 695 (S.D. Fla. 2014)
  (“The attorneys’ fees in a class action can be determined based upon the total fund,

  not just the actual payout to the class.”); Pinto v. Princess Cruise Lines, Ltd., 513 F.
  Supp. 2d 1334, 1339 (S.D. Fla. 2007) (same); In re Sunbeam Sec. Litig., 176 F. Supp.
  2d at 1333 (same); see also Poertner v. Gillette Co., 618 F. App'x 624, 626 (11th

  Cir. 2015) (approving settlement class when less than 1% of class members filed
  claims); Braynen v. Nationstar Mortg., LLC, No. 14-CV-20726, 2015 U.S. Dist.
  LEXIS 151744, at *48-50 (S.D. Fla. Nov. 9, 2015) (“Courts in this Circuit have

  approved claims-made class settlements where the claims rate was low, including
  approving single-digit claims rates. . . . In addition, courts often grant final approval
  of class action settlements before the final claims deadline. . . . The question for the

  Court at the Final Fairness Hearing stage is whether the settlement provided to the
  class is ‘fair, reasonable, and adequate,’ not whether the class decides to actually
  take advantage of the opportunity provided.”) (internal citations omitted).

        In fact, the relief obtained for the Class is the best relief because it was the
  only real relief possible without significant additional risk. eXp has made clear that
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  it would not have settled the case using any other structure and would have instead
  awaited a ruling on its appellate petition, and if unsuccessful, tried the case, and, if

  again unsuccessful, filed a post-trial appeal. Kaufman Decl. ¶ 40; cf. Cook, 2020
  U.S. Dist. LEXIS 111956, at *24 (finding that a reversionary settlement provided
  the only and therefore best relief). And notably, consistent with the views of Class

  Counsel and Representative Plaintiff regarding the adequacy of Settlement relief, to
  date, only two Class Members have opted out of the Settlement and no Class
  Members have objected to any aspect of the Settlement (including Class Counsel’s

  request for fees and expenses previewed in the notices). Kaufman Decl. ¶ 40.
        The eighth Camden I factor therefore supports the requested fee award.
               4. Class Counsel Assumed the Risks of Pursuing
                  this Case on a Pure Contingency Basis
        “The importance of ensuring adequate representation for plaintiffs who could
  not otherwise afford competent attorneys justifies providing those attorneys who do
  accept matters on a contingent-fee basis a larger fee than if they were billing by the

  hour or on a flat fee.” In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1047
  (N.D. Cal. 2008); see Berry v. Wells Fargo & Co., No. 3:17-cv-00304-JFA, 2020
  U.S. Dist. LEXIS 143893, at *35 (D.S.C. July 29, 2020) (“class counsel undertook

  to prosecute this action without any assurance of payment for their services.
  Counsel’s entitlement to payment was entirely dependent upon achieving a good
  result for Plaintiff and the class. Contingency fee arrangements are customary in

  class action cases and such arrangements are usually one-third or higher. Therefore,

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  this factor supports the reasonableness of the requested fee award” (internal citation
  omitted)). Indeed, “[a] contingency fee arrangement often justifies an increase in

  the award of attorney’s fees.” Sunbeam, 176 F. Supp. 2d at 1335 (quoting Behrens
  v. Wometco Enters., Inc., 118 F.R.D. 534, 548 (S.D. Fla. 1988)); see also Birch v.
  Office Depot Inc., No. 06 CV 1690 DMS (WMC), 2007 U.S. Dist. LEXIS 102747,

  at *7 (S.D. Cal. Sep. 28, 2007) (“Class Counsel has proceeded on a contingency
  basis despite the uncertainty of any fee award. Class Counsel risked that it would
  not obtain any relief on behalf of Plaintiff or the Class, and so no recovery of fees.

  In addition, Class Counsel was precluded from pursuing other potential sources of
  revenue due to its prosecution of the claims in this action.”).
        Because Class Counsel were working entirely on a contingency basis, only a

  successful result – at trial or by settlement – would result in any fees and recovery
  of expenses. Kaufman Decl. at ¶¶ 59-61. Nevertheless, Class Counsel spent over
  2,800 hours and more than $175,000 to zealously promote the Class’s interests.

  Kaufman Decl. at ¶¶ 44, 59; Coleman Decl. at ¶¶ 9, 18-19. The sixth Camden I
  factor therefore strongly favors approving the requested fee.
               5. The Fee Request Comports with Fees Awarded in Similar Cases

        Counsel’s requested fee equal to 20% of the Settlement’s total economic value
  and one third of its monetary relief, is well within the range of fees typically awarded
  in similar cases. Numerous decisions within and outside of the Middle District of

  Florida and the Eleventh Circuit have found that a fee of one-third of a settlement’s
  value is the benchmark fee percentage under Camden I factors. E.g., Belin v. Health
                                          23
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  Ins. Innovations, Inc., No. 19-cv-61430, 2022 U.S. Dist. LEXIS 70141 (S.D. Fla.
  Apr. 15, 2022) (collecting cases in this Circuit awarding one-third or more of the

  class settlement fund and awarding approximately $9 million in attorneys’ fees
  constituting one third of the $27.5 million settlement fund); Hanley v. Tampa Bay
  Sports & Entm't Ltd. Liab. Co., No. 8:19-CV-00550-CEH-CPT, 2020 U.S. Dist.

  LEXIS 89175, at *16 (M.D. Fla. Apr. 23, 2020) (in a case in which the defendant
  was represented by the same counsel as eXp, collecting cases and stating that
  “district courts in the Eleventh Circuit routinely approve fee awards of one-third of

  the common settlement fund” and approving fees of more than one third of TCPA
  settlement fund); Wolff v. Cash 4 Titles, No. 03-22778- CIV, 2012 WL 5290155, at
  *5-6 (S.D. Fla. Sept. 26, 2012) (“The average percentage award in the Eleventh

  Circuit mirrors that of awards nationwide—roughly one-third.”) (citing Circuit case
  law and listing Southern and Middle District of Florida attorneys’ fee awards).
        Finally, Class Counsel’s fee request also falls specifically within the range of

  awards in TCPA cases within this Circuit. See Beiswinger, ECF 36 (M.D. Fla. 2022)
  (granting fees equal to one-third of the settlement fund and less than one-third of the
  settlement’s value including remedial relief); Hanley, 2020 U.S. Dist. LEXIS 89175,

  at *16 (granting more than one-third in fees); Gottlieb v. Citgo Petroleum Corp., No.
  9:16-cv-81911, 2017 U.S. Dist. LEXIS 197382, at *7 (S.D. Fla. Nov. 29, 2017)
  (granting one third of the $8,000,000 fund in fees which was less than one-third of

  the total settlement value when including other benefits); ABC Bartending School of
  Miami, Inc., v. American Chemicals & Equipment, Inc., No. 15-CV-23142-KMV
                                       24
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  (S.D. Fla. April 11, 2017) (granting one-third in fees); Guarisma v. ADCAHB Med.
  Coverages, Inc., Case No. 1:13-cv-21016 (S.D. Fla. June 24, 2015) (same).

         The twelfth Camden I factor therefore justifies the requested fee award.
                6. Class Counsel’s Request for Expenses Is Reasonable
         Rule 23(h) also permits the Court to “award . . . nontaxable costs that are

  authorized by law or by the parties’ agreement.” Fed. R. Civ. P. 23(h). “Courts
  typically allow counsel to recover their reasonable out-of-pocket expenses. Indeed,
  courts normally grant expense requests in common fund cases as a matter of

  course.” Hanley, 2020 U.S. Dist. LEXIS 89175, at *17 (collecting cases and
  approving cost award). The Settlement permits Class Counsel to seek
  reimbursement of their reasonable expenses.

         Class Counsel have incurred expenses in the prosecution of this action for
  which they seek reimbursement totaling $106,662.054 for filing fees, process server
  fees, courtesy copy and mailing fees, depositions, expert fees, travel, and mediation

  fees. Kaufman Decl. ¶ 57; Coleman Decl. ¶ 19. These expenses were reasonable
  and necessary for prosecuting this action and are the types of expenses typically
  billed to clients in non-contingency matters, and therefore should be approved. Id.

  IV.    CONCLUSION
         Plaintiff and Class Counsel respectfully request that this Court award Class
  Counsel attorneys’ fees of $8,970,000 and expenses of $106,662.05.

  4
    Class Counsel are not seeking reimbursement for more than $70,000 in additional expenses
  associated with calling Class Members about the Settlement and preparing to disseminate
  adversarial notice prior to reaching a settlement in principle. See, e.g., Coleman Decl. ¶ 18.
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                          Local Rule 3.01(g) Certification
        I certify that counsel for Plaintiff met and conferred with counsel for

  Defendant on July 7, 2022, by videoconference, and Defendant reserves the right to
  oppose Class Counsel’s fee request, but does not oppose Class Counsel’s expenses
  request.


  DATED July 8, 2022                   Respectfully submitted,

                                       /s/ Avi R. Kaufman
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                                       the Class



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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 8, 2022, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF, and it is being

  served this day on all counsel of record via transmission of Notice of Electronic
  Filing generated by CM/ECF.
                                                /s/ Avi R. Kaufman




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